Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 1 of 32 Pageid#: 181



                                                            JUN 21 2019
                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF VIRGINIA


CHARLOTTE COUNTY, VIRGINIA,

                 Plaintiff,

v.                                           Civil Action No. 4:19CV00029

PURDUE PHARMA L.P.; PURDUE PHARMA
INC.; THE PURDUE FREDERICK COMPANY,
INC.; RHODES PHARMACEUTICALS, L.P.;
ABBOTT LABORATORIES; ABBOTT
LABORATORIES, INC.; ABBVIE INC.;
MALLINCKRODT PLC; MALLINCKRODT LLC;
SPECGX LLC; ENDO HEALTH SOLUTIONS
INC.; ENDO PHARMACEUTICALS INC.; PAR
PHARMACEUTICAL COMPANIES, INC.; PAR
PHARMACEUTICAL, INC.; TEVA
PHARMACEUTICALS USA, INC.; CEPHALON,
INC.; BARR LABORATORIES, INC.; WATSON
LABORATORIES, INC.; ACTAVIS PHARMA,
INC.; ACTAVIS, LLC; JANSSEN
PHARMACEUTICALS, INC.; ORTHO-MCNEIL-
JANSSEN PHARMACEUTICALS, INC.;
JANSSEN PHARMACEUTICA, INC.;
ALLERGAN PLC; ALLERGAN FINANCE, LLC;
INSYS THERAPEUTICS, INC.; KVK-TECH,
INC.; AMNEAL PHARMACEUTICALS LLC;
IMPAX LABORATORIES, LLC; AMNEAL
PHARMACEUTICALS, INC.; AMNEAL
PHARMACEUTICALS OF NEW YORK, LLC;
MYLAN PHARMACEUTICALS, INC.;
MCKESSON CORPORATION; MCKESSON
MEDICAL-SURGICAL INC.; CARDINAL
HEALTH, INC.; AMERISOURCEBERGEN DRUG
CORPORATION; HENRY SCHEIN, INC.;
GENERAL INJECTABLES & VACCINES, INC.;
INSOURCE, INC.; CVS HEALTH
CORPORATION; CVS PHARMACY, INC.; CVS
TN DISTRIBUTION, L.L.C.; WALGREENS
BOOTS ALLIANCE, INC.; WALGREEN CO.;
EXPRESS SCRIPTS HOLDING COMPANY;
EXPRESS SCRIPTS, INC.; CAREMARK RX,
L.L.C.; CAREMARKPCS HEALTH, L.L.C.;
    Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 2 of 32 Pageid#: 182




    CAREMARK, L.L.C.; UNITEDHEALTH GROUP
    INCORPORATED; OPTUM, INC.; OPTUMRX,
    INC.; and DOES 1-100,

                         Defendants.



    PURDUE PHARMA L.P., PURDUE PHARMA INC., AND THE PURDUE FREDERICK
                  COMPANY, INC.’S NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, defendants Purdue Pharma L.P., Purdue

Pharma Inc., and The Purdue Frederick Company, Inc.’s (collectively, “Purdue”) hereby give

notice of removal of this action, captioned Charlotte County, Virginia v. Purdue Pharma L.P. et

al., bearing case number CL19000179-00, from the Circuit Court for Charlotte County, Virginia,

to this Court.

                                         INTRODUCTION

        1.       This opioid-related action is virtually identical to at least 12 others filed between

March 14, 2018 and December 6, 2018 by cities and counties in Virginia against the same core

group of defendants named here (“First Wave Cases”).1 Those 12 cases were removed to federal

court—on grounds identical to those raised here—and stayed pending transfer to MDL No. 2804.



1
  See City of Norton v. Purdue Pharma L.P. et al., No. 2:18-cv-00050 (W.D. Va.), Dkt. 34 (Supp.
Not. of Removal); Giles County v. Purdue Pharma L.P. et al., No. 7:18-cv-00618 (W.D. Va.), Dkt.
32 (Supp. Not. of Removal); Montgomery County v. Purdue Pharma L.P. et al., No. 7:18-cv-00619
(W.D. Va.), Dkt. 34 (Supp. Not. of Removal); Lee County v. Purdue Pharma L.P. et al., No. 2:18-
cv-00049 (W.D. Va.), Dkt. 34 (Supp. Not. of Removal); Dickenson County v. Purdue Pharma L.P.
et al., No. 2:18-cv-00048 (W.D. Va.), Dkt. 23 (Supp. Not. of Removal); City of Galax v. Purdue
Pharma L.P. et al., No. 7:18-cv-00617 (W.D. Va.), Dkt. 32 (Supp. Not. of Removal); Pittsylvania
County v. Purdue Pharma L.P. et al., No. 4:18-cv-00070 (W.D. Va.), Dkt. 35 (Supp. Not. of
Removal); Henry County v. Purdue Pharma L.P. et al., No. 4:18-cv-00071 (W.D. Va.), Dkt. 35
(Supp. Not. of Removal); Page County v. Purdue Pharma L.P. et al., No. 5:18-cv-00147 (W.D.
Va.), Dkt. 37 (Supp. Not of Removal); Buchanan County v. Purdue Pharma L.P. et al., No. 1:18-
cv-00047 (W.D. Va.), Dkt. 27 (Supp. Not. of Removal); Washington County v. Purdue Pharma
L.P. et al., No. 1:18-cv-00046 (W.D. Va.), Dkt. 35 (Supp. Not. of Removal); City of Alexandria v.
Purdue Pharma L.P. et al., No. 18-cv-01536 (E.D. Va.), Dkt. 23 (Supp. Not. of Removal).


                                                   2
 Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 3 of 32 Pageid#: 183




See City of Galax v. Purdue Pharma, L.P., No. 7:18-cv-00617, 2019 WL 653010 (W.D. Va. Feb.

14, 2019) (Dillon, J.); Order, City of Alexandria v. Purdue Pharma L.P. et al., No. 1:18-cv-01536-

CMH-JFA (E.D. Va. Jan. 30, 2019), Dkt. 63 (Hilton, J.). The First Wave Cases allege virtually

identical allegations and claims as in this action and at least 24 other Virginia actions recently filed

by the same plaintiffs’ firms since March 25, 2019 (“Second Wave Cases”). Like the First Wave

Cases, the Second Wave Cases have been removed to federal court, and this Court and the Eastern

District of Virginia have already stayed many of these cases pending transfer to the MDL. Louisa

County v. Purdue Pharma L.P., No. 3:19-cv-00027 (W.D. Va.) (Dillon, J.); Madison County v.

Purdue Pharma L.P., No. 7:18-cv-00617 (W.D. Va.) (Dillon, J.); Floyd County v. Purdue Pharma

L.P., No. 7:19-cv-00371-EKD (W.D. Va.) (Dillon, J.); City of Covington v. Purdue Pharma, L.P.,

No. 7:18-cv-00372-EKD (W.D. Va.) (Dillon, J.); City of Bristol v. Purdue Pharma, L.P., No. 1:19-

cv-00011-EKD (W.D. Va.) (Dillon, J.); Roanoke County v. Purdue Pharma L.P., No. 7:19-cv-

00271 (W.D. Va.) (Dillon, J.); City of Salem v. Purdue Pharma, L.P., No. 7:19-cv-00273-EKD

(W.D. Va.) (Dillon, J.); City of Roanoke v. Purdue Phrama, L.P., No. 7:19-cv-000272 (W.D. Va.)

(Dillon, J.); Halifax County v. Purdue Pharma L.P., No. 4:19-cv-00021-EKD (W.D. Va.) (Dillon,

J.); City of Lexington v. Purdue Pharma, L.P., No. 6:19-cv-00021-EKD (W.D. Va.) (Dillon, J.);

Rockbridge County v. Purdue Pharma, L.P., No. 6:19-cv-00025 (W.D. Va.) (Dillon, J.); Alleghany

County v. Purdue Pharma L.P., No. 7:19-cv-00275-MFU (W.D. Va.) (Urbanski, C.J.); Franklin

County v. Purdue Pharma L.P., No. 7:19-cv-00302-MFU (W.D. Va.) (Urbanski, C.J.); Fauquier

County v. Purdue Pharma L.P., No. 1:19-cv-00364-LMB (E.D. Va.) (Brinkema, J.); Bd. of

Supervisors of Prince William County v. Purdue Pharma L.P., No. 1:19-cv-00365-TSE-JFA (E.D.

Va.) (T.S. Ellis, III, J.); Fairfax County Bd. of Supervisors v. Purdue Pharma L.P., No. 1:19-cv-

00544-TSE-TCB (E.D. Va.) (T.S. Ellis, III, J.); City of Chesapeake v. Purdue Pharma L.P., No.




                                                   3
    Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 4 of 32 Pageid#: 184




2:19-cv-00183-RAJ (E.D. Va.) (Jackson, J.); Accomack County v. Purdue Pharma L.P., No. 2:19-

cv-00184-RAJ (E.D. Va.) (Jackson, J.). The same should happen here.2

        2.     More broadly, this action is one of well over a thousand related lawsuits filed

against manufacturers of FDA-approved prescription opioid medications on behalf of state and

local governments relating to alleged harms stemming from abuse of these medications. On

December 5, 2017, the Judicial Panel on Multidistrict Litigation (“JPML”) created a Multidistrict

Litigation (“MDL”) in the Northern District of Ohio for these actions, i.e., cases in which plaintiffs

allege that “manufacturers of prescription opioid medications overstated the benefits and

downplayed the risks of the use of their opioids and aggressively marketed . . . these drugs to

physicians[.]” See In re Nat’l Prescription Opiate Litig., 290 F. Supp. 3d 1375, 1378 (J.P.M.L.

2017). As the JPML found in centralizing these cases, “centralization will substantially reduce

the risk of duplicative discovery, minimize the possibility of inconsistent pretrial obligations, and

prevent conflicting rulings on pretrial motions.” Id. at 1379.

        3.     The allegations in these cases, and the defendants who are named, are largely

identical. The principal difference between the cases is a rotating cast of non-diverse defendants

joined for the sole purpose of thwarting diversity jurisdiction in an effort to avoid (and undermine)

the MDL. That is the case here.

        4.     Like its predecessors, this action names the usual major manufacturers of

prescription opioid medications, major distributors of opioid products, and pharmacy benefit

managers. Since none of these entities is a citizen of Virginia, Plaintiff has tacked on three token



2
  Only two cases removed under the same circumstances as this case and the stayed cases have
been remanded, Bd. of Supervisors of Arlington County v. Purdue Pharma, L.P., 1:19-cv-00402
(E.D. Va.) (Trenga, J.) and Dinwiddie County v. Purdue Pharma, L.P., 3:19-cv-00242 (E.D. Va.)
(Payne, J.).



                                                  4
    Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 5 of 32 Pageid#: 185




non-diverse distributors (McKesson Medical-Surgical Inc., General Injectables & Vaccines, Inc.,

and Insource, Inc.) for the sole purpose of thwarting diversity. Plaintiff mentions these entities in

just a handful of the Complaint’s 500-plus paragraphs, and those few paragraphs consist

exclusively of boilerplate jurisdictional recitals and do not include any allegation of wrongdoing.

         5.     As discussed below, the citizenship of these token non-diverse distributors should

be ignored under the doctrines of fraudulent joinder, Rule 21 severance, and fraudulent misjoinder,

and there is complete diversity of citizenship between the remaining parties.

                                        BACKGROUND

         6.     On June 14, 2019, this lawsuit was filed in the Circuit Court of Charlotte County,

Virginia, on behalf of Plaintiff, Charlotte County. The Complaint (attached hereto, along with

the state court file, as Exhibit 1) names the following defendants, as well as unnamed, unidentified

Doe defendants:

                a.     “Manufacturer Defendants” — Purdue Pharma L.P.; Purdue Pharma Inc.;

The Purdue Frederick Company, Inc.; Rhodes Pharmaceuticals, L.P.; Abbott Laboratories; Abbott

Laboratories, Inc.; Abbvie Inc.; Mallinckrodt plc; Mallinckrodt LLC; SpecGx LLC; Endo Health

Solutions Inc.; Endo Pharmaceuticals Inc.; Par Pharmaceutical Companies, Inc.; Par

Pharmaceutical, Inc.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Barr Laboratories, Inc.;

Watson Laboratories, Inc.; Actavis Pharma, Inc.; Actavis LLC;3 Janssen Pharmaceuticals, Inc.;

Ortho-McNeil-Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc.; Allergan plc; Allergan

Finance, LLC; Insys Therapeutics, Inc.; KVK-Tech, Inc.; Amneal Pharmaceuticals LLC; Impax

Laboratories, LLC; Amneal Pharmaceuticals, Inc.; Amneal Pharmaceuticals of New York, LLC;

and Mylan Pharmaceuticals, Inc.



3
    Actavis LLC is incorrectly named in the Complaint as “Actavis, LLC.”


                                                 5
 Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 6 of 32 Pageid#: 186




                 b.     “PBM Defendants” — Express Scripts Holding Company; Express Scripts,

Inc.; Caremark Rx, L.L.C.; CaremarkPCS Health, L.L.C.; Caremark, L.L.C.; UnitedHealth Group

Incorporated; Optum, Inc.; and OptumRx, Inc.

                 c.     “Distributor Defendants” — McKesson Corporation; Cardinal Health, Inc.;

AmerisourceBergen Drug Corporation; Henry Schein, Inc.; CVS Health Corporation; CVS

Pharmacy, Inc.; CVS TN Distribution, L.L.C.; Walgreens Boots Alliance, Inc.; and Walgreen Co.

                 d.     “Nominal Distributor Defendants” — McKesson Medical-Surgical Inc.;

General Injectables & Vaccines, Inc.; and Insource, Inc.

       7.        Like its predecessors, the thrust of this Complaint is that the Manufacturer

Defendants engaged in a marketing and promotional campaign based on misrepresentations about

the risks and benefits of FDA-approved prescription opioid medications. (Compl. ¶¶ 14, 216-

284.) All of the Manufacturer Defendants are citizens of states or foreign states other than

Virginia.

       8.        As to the PBM Defendants, Plaintiff alleges that they “design prescription drug

benefit programs and create formularies which set the criteria and terms under which

pharmaceutical drugs are reimbursed” (id. ¶ 17) which purportedly “allow[ed] the drugs to enter

the marketplace to be abused” (id. ¶ 343). All of the PBM Defendants are citizens of states other

than Virginia.

       9.        Plaintiff’s allegations against the Distributor Defendants relate to entirely distinct

conduct having nothing to do with alleged deceptive promotion of opioid medications

(Manufacturer Defendants) or the design of prescription drug benefit programs (PBM Defendants).

As to the Distributor Defendants, Plaintiff alleges that they “fail[ed] to implement effective

controls and procedures in their supply chains to guard against theft, diversion and misuse of




                                                   6
 Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 7 of 32 Pageid#: 187




prescription opioids, and fail[ed] to adequately design and operate a system to detect, halt, and

report suspicious orders of prescription opioids.” (Id. ¶ 437.) The Distributor Defendants are

citizens of states other than Virginia.     The Nominal Distributor Defendants are citizens of

Virginia.

       10.     The Complaint asserts eleven causes of action. Seven are pleaded against “all

Defendants,” although each individual claim rests almost entirely on alleged conduct involving the

Manufacturer Defendants only, on the one hand, or the Distributor Defendants and PBM

Defendants only, on the other: (1) statutory public nuisance; (2) common law public nuisance;

(3) common law civil conspiracy; (4) negligence; (5) gross negligence; (6) willful and wanton

negligence; and (7) unjust enrichment. (Id. ¶¶ 428-486, 507-517, 535-557.) Three claims are

pleaded against only the Manufacturer Defendants: (1) violation of the Virginia Consumer

Protection Act, VA Code Ann. § 59.1-196 et seq.; (2) fraud; and (3) negligence per se. (Id.

¶¶ 487-506, 518-526.) And Plaintiff pleads a separate negligence per se claim against only the

Distributor Defendants. (Id. ¶¶ 527-534.)

       11.     Purdue has not been served with the Complaint.

                                 VENUE AND JURISDICTION

       12.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 127, 1391, 1441(a), and

1446(a) because the Circuit Court of Charlotte County, Virginia, where the Complaint was filed,

is a state court within the Western District of Virginia.

       13.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a) because

(1) there is complete diversity of citizenship between Plaintiff and all properly joined defendants;

(2) the amount in controversy exceeds $75,000, exclusive of interests and costs; and (3) all other

requirements for removal have been satisfied.




                                                  7
 Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 8 of 32 Pageid#: 188




I.     THERE IS COMPLETE DIVERSITY OF CITIZENSHIP BETWEEN PLAINTIFF
       AND ALL DEFENDANTS OTHER THAN THE NOMINAL DISTRIBUTOR
       DEFENDANTS

       14.     There is complete diversity of citizenship here because Plaintiff is a Virginia citizen

and all Defendants other than the Nominal Distributor Defendants are citizens of states or foreign

states other than Virginia, see Part I.A infra; the citizenship of unnamed, unidentified Doe

Defendants is ignored for purposes of diversity jurisdiction, see Part I.B infra; and the citizenship

of the Nominal Distributor Defendants should be ignored for purposes of diversity jurisdiction,

see Part I.C infra. This is because the Nominal Distributor Defendants are fraudulently joined,

and, separately, because all of the Distributor Defendants (including the Nominal Distributor

Defendants) are severable under Federal Rule of Civil Procedure 21 and fraudulently misjoined.

       A.      Plaintiff Is Diverse from All Defendants Other Than the Nominal Distributor
               Defendants

               1. Plaintiff Is a Citizen of Virginia

       15.     Plaintiff is a Virginia citizen for purposes of diversity jurisdiction. See Moor v.

Alameda Cty., 411 U.S. 693, 721 (1973) (holding that Alameda County is a California citizen for

purposes of diversity jurisdiction).

               2. No Defendant Other Than the Nominal Distributor Defendants Is a Citizen
                  of Virginia

       16.     For purposes of diversity jurisdiction, a corporation is “a citizen of every State and

foreign state by which it has been incorporated and of the State or foreign state where it has its

principal place of business.” 28 U.S.C. § 1332(c)(1). A partnership is a citizen of every state in

which its partners are citizens. See Americold Realty Tr. v. Conagra Foods, Inc., 136 S. Ct. 1012,

1015 (2016); Gen. Tech. Applications, Inc. v. Exro Ltda, 388 F.3d 114, 121 (4th Cir. 2004). A

limited liability company is a citizen of every state in which its members are citizens. Gen. Tech.

Applications, Inc., 388 F.3d at 121.


                                                 8
 Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 9 of 32 Pageid#: 189




        17.     Applying these principles, no Defendant other than the Nominal Distributor

Defendants is a citizen of Virginia.

        18.     Defendant Purdue Pharma L.P. is a limited partnership organized under the laws of

Delaware, none of whose partners is a citizen of Virginia. (See Compl. ¶ 28.) Its partners

citizens of New York, Connecticut, Delaware, Florida, the British Virgin Islands, and Jersey,

Channel Islands.

        19.     Defendant Purdue Pharma Inc. is a corporation organized under the laws of New

York with its principal place of business in Stamford, Connecticut. (Id.)

        20.     Defendant The Purdue Frederick Company, Inc. is a corporation organized under

the laws of New York with its principal place of business in Stamford, Connecticut.

        21.     Defendant Rhodes Pharmaceuticals L.P. is a limited partnership organized under

the laws of Delaware with its principal place of business in Rhode Island. (See id. ¶ 36.) The

general partner of Rhodes Pharmaceuticals L.P. is Rhodes Pharmaceuticals Inc., a corporation

organized under the laws of New York with its principal place of business in Rhode Island. The

only other partner of Rhodes Pharmaceuticals L.P. is Coventry Technologies L.P., a limited

partnership organized under the laws of Delaware with its principal place of business in Rhode

Island. No partner of Coventry Technologies L.P. is a citizen of Virginia.

        22.     Defendant Abbott Laboratories is a corporation organized under the laws of Illinois

with its principal place of business in Abbott Park, Illinois. (Id. ¶ 41.)

        23.     Defendant Abbott Laboratories, Inc. is a corporation organized under the laws of

Illinois with its principal place of business in Abbott Park, Illinois. (Id.)

        24.     Defendant AbbVie Inc. is a corporation organized under the laws of Delaware with

its principal place of business in Illinois. (Id. ¶ 42.)




                                                   9
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 10 of 32 Pageid#: 190




       25.    Defendant Mallinckrodt plc is an Irish public limited company with its corporate

headquarters in Staines-upon-Thames, United Kingdom. (Id. ¶ 58.)

       26.    Defendant Mallinckrodt LLC is a limited liability company organized under the

laws of Delaware, none of whose members is a citizen of Virginia. (See id. ¶ 59.) Mallinckrodt

LLC’s sole member is Mallinckrodt Enterprises LLC. Mallinckrodt Enterprises LLC’s members

are Mallinckrodt Enterprises Holdings, Inc., a corporation organized under the laws of California

with its principal place of business in Missouri; Ludlow Corporation, a corporation organized

under the laws of Massachusetts with its principal place of business in Missouri; and

Mallinckrodt ARD Finance LLC.            Mallinckrodt ARD Finance LLC’s sole member,

Mallinckrodt ARD Inc., is a corporation organized under the laws of California with its principal

place of business in New Jersey.

       27.    SpecGx LLC is a limited liability company organized under the laws of Delaware,

none of whose members is a citizen of Virginia. (See id. ¶ 60.) SpecGx LLC’s sole member is

Mallinckrodt LLC, whose citizenship is pleaded above.

       28.    Defendant Endo Health Solutions Inc. is a corporation organized under the laws

of Delaware with its principal place of business in Malvern, Pennsylvania. (Id. ¶ 66.)

       29.    Defendant Endo Pharmaceuticals Inc. is a corporation organized under the laws

of Delaware with its principal place of business in Malvern, Pennsylvania. (Id.)

       30.    Defendant Par Pharmaceutical Companies, Inc. is a corporation organized under

the laws of Delaware with its principal place of business in New York. (Id. ¶ 68.)

       31.    Defendant Par Pharmaceutical, Inc. is a corporation organized under the laws of

New York with its principal place of business in New York. (Id. ¶ 69.)




                                               10
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 11 of 32 Pageid#: 191




       32.     Defendant Teva Pharmaceuticals USA, Inc. is a corporation organized under the

laws of Delaware with its principal place of business in North Wales, Pennsylvania. (Id. ¶ 77.)

       33.     Defendant Cephalon, Inc. is a corporation organized under the laws of Delaware

with its principal place of business in Frazer, Pennsylvania. (Id. ¶ 78.)

       34.     Defendant Barr Laboratories, Inc. is a corporation organized under the laws of

Delaware with its principal place of business in Pennsylvania. (Id. ¶ 79.)

       35.     Defendant Watson Laboratories, Inc. is a corporation organized under the laws of

Nevada with its principal place of business in Parsippany, New Jersey. (See id. ¶ 80.)

       36.     Defendant Actavis Pharma, Inc. is a corporation organized under the laws of

Delaware with its principal place of business in New Jersey. (Id. ¶ 81.)

       37.     Defendant Actavis LLC is a Delaware limited liability company with its principal

place of business in Parsippany, New Jersey. (Id. ¶ 82.) Actavis LLC’s sole member is Actavis

US Holding LLC, a limited liability company organized under the laws of Delaware. Actavis US

Holding LLC’s sole member is Watson Laboratories, Inc., a corporation organized under the laws

of Nevada with its principal place of business in Parsippany, New Jersey.

       38.     Defendant Janssen Pharmaceuticals, Inc. is a corporation organized under the laws

of Pennsylvania with its principal place of business in Titusville, New Jersey. (Id. ¶ 92.)

       39.     Defendant     Ortho-McNeil-Janssen      Pharmaceuticals,      Inc.   n/k/a     Janssen

Pharmaceuticals, Inc. is a corporation organized under the laws of Pennsylvania with its principal

place of business in Titusville, New Jersey. (Id. ¶ 93.)

       40.     Defendant Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc. is a

corporation organized under the laws of Pennsylvania with its principal place of business in

Titusville, New Jersey. (Id. ¶ 94.)




                                                11
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 12 of 32 Pageid#: 192




       41.     Defendant Allergan plc is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. (Id. ¶ 103.)

       42.     Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc. is a

Nevada limited liability company. (Id. ¶ 104.) Its sole member is Allergan W.C. Holding Inc.

f/k/a Actavis W.C. Holding Inc., a Delaware corporation with its principal place of business in

Madison, New Jersey.

       43.     Defendant Insys Therapeutics, Inc. is a corporation organized under the laws of

Delaware with its principal place of business in Chandler, Arizona. (Id. ¶ 111.)

       44.     Defendant KVK-Tech, Inc. is a corporation organized under the laws of

Pennsylvania with its principal place of business in Newton, Pennsylvania. (Id. ¶ 114.)

       45.     Defendant Amneal Pharmaceuticals LLC is a Delaware limited liability company

with its principal place of business in New Jersey. (Id. ¶ 117.) None of its members is a citizen

of Virginia.

       46.     Defendant Impax Laboratories, LLC is a Delaware limited liability company with

its principal place of business in Bridgewater, New Jersey. (Id. ¶ 118.) None of its members is

a citizen of Virginia.

       47.     Defendant Amneal Pharmaceuticals, Inc. is a corporation organized under the laws

of Delaware with its principal place of business in Bridgewater, New Jersey. (Id. ¶ 119.)

       48.     Defendant Amneal Pharmaceuticals of New York, LLC is a Delaware limited

liability company with its principal place of business in Pennsylvania. None of its members is a

citizen of Virginia.

       49.     Defendant Mylan Pharmaceuticals, Inc. is a corporation organized under the laws

of West Virginia with its principal place of business in Pennsylvania. (Id. ¶ 124.)




                                                12
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 13 of 32 Pageid#: 193




       50.     Defendant McKesson Corporation is a corporation organized under the laws of

Delaware with its principal place of business in San Francisco, California. (Id. ¶ 129.)

       51.     Defendant Cardinal Health, Inc. is a corporation organized under the laws of Ohio

with its principal place of business in Ohio. (Id. ¶ 139.)

       52.     Defendant AmerisourceBergen Drug Corporation is a corporation organized under

the laws of Delaware with its principal place of business in Pennsylvania. (Id. ¶ 143.)

       53.     Defendant Henry Schein, Inc. is a corporation organized under the laws of

Delaware with its principal place of business in Melville, New York. (Id. ¶ 148.)

       54.     Defendant CVS Health Corporation is a corporation organized under the laws of

Delaware with its principal place of business in Rhode Island. (Id. ¶ 155.)

       55.     Defendant CVS Pharmacy, Inc. is a corporation organized under the laws of Rhode

Island with its principal place of business in Rhode Island. (Id. ¶ 156.)

       56.     Defendant CVS TN Distribution, L.L.C. is a Tennessee limited liability company.

(Id. ¶ 157.) Its sole member is CVS Pharmacy, Inc., a corporation organized under the laws of

Rhode Island with its principal place of business in Rhode Island.

       57.     Defendant Walgreens Boots Alliance, Inc. is a corporation organized under the laws

of Delaware with its principal place of business in Illinois. (Id. ¶ 159.)

       58.     Defendant Walgreen Co. is a corporation organized under the laws of Illinois with

its principal place of business in Illinois. (Id. ¶ 160.)

       59.     Defendant Caremark Rx, L.L.C. is a Delaware limited liability company. (Id.

¶ 167.) Its sole member is CVS Pharmacy, Inc., a corporation organized under the laws of Rhode

Island with its principal place of business in Rhode Island.




                                                  13
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 14 of 32 Pageid#: 194




        60.     Defendant CaremarkPCS Health, L.L.C. is a Delaware limited liability company.

(Id. ¶ 168.) Its sole member is CaremarkPCS, L.L.C., and the sole member of CaremarkPCS,

L.L.C. is Caremark Rx, L.L.C. As noted above, Caremark Rx, L.L.C. is a citizen of Rhode Island.

        61.     Defendant Caremark, L.L.C. is a California limited liability company. (Id. ¶ 169.)

Its sole member is Caremark Rx, L.L.C. As noted above, Caremark Rx, L.L.C. is a citizen of

Rhode Island.

        62.     Defendant Express Scripts Holding Company is a corporation organized under the

laws of Delaware with its principal place of business in St. Louis, Missouri. (Id. ¶ 177.)

        63.     Defendant Express Scripts, Inc. is a corporation organized under the laws of

Delaware with its principal place of business in St. Louis, Missouri. (Id. ¶ 178.)

        64.     Defendant UnitedHealth Group Incorporated is a corporation organized under the

laws of Delaware with its principal place of business in Minnetonka, Minnesota. (Id. ¶ 187.)

        65.     Defendant Optum, Inc. is a corporation organized under the laws of Delaware with

its principal place of business in Eden Prairie, Minnesota. (Id. ¶ 189.)

        66.     Defendant OptumRx, Inc. is a corporation organized under the laws of California

with its principal place of business in Irvine, California. (Id. ¶ 190.)

        67.     Accordingly, all Defendants other than the Nominal Distributor Defendants are

citizens of a state or foreign state other than Virginia.

        B.      The Citizenship of Doe Defendants Is Ignored

        68.     The citizenship of unnamed, unidentified Doe Defendants is ignored for purposes

of determining diversity jurisdiction. See 28 U.S.C. § 1441(b)(1) (“In determining whether a civil

action is removable on the basis of [diversity of citizenship], the citizenship of defendants sued

under fictitious names shall be disregarded.”).




                                                  14
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 15 of 32 Pageid#: 195




       C.      The Citizenship of the Nominal Distributor Defendants Should Be Ignored

               1.        The Nominal Distributor Defendants Are Fraudulently Joined

       69.     Even where the face of a complaint shows a lack of complete diversity, removal

based on diversity jurisdiction is nonetheless proper where the non-diverse defendants are

fraudulently joined. “The doctrine of fraudulent joinder permits a federal court to disregard, for

jurisdictional purposes, the citizenship of non-diverse defendants.” McFadden v. Fed. Nat’l

Mortg. Ass’n, 525 F. App’x 223, 227 (4th Cir. 2013) (internal quotation marks omitted). A non-

diverse defendant is fraudulently joined where “there is no possibility that the plaintiff would be

able to establish a cause of action against the non-diverse party.” Id. (internal quotation marks

and citation omitted).

       70.     Here, there is no possibility that Plaintiff can establish a cause of action against the

Nominal Distributor Defendants because Plaintiff has not alleged that they did anything unlawful.

Notably, of the Complaint’s 500-plus paragraphs, only ten (charitably read) mention the Nominal

Distributor Defendants. (Compl. ¶¶ 136-138, 148-154.)4 Those ten paragraphs consist entirely

of conclusory jurisdictional allegations that the Nominal Distributor Defendants are Virginia

corporations that distribute pharmaceutical products. (See id.) Plaintiff nowhere alleges any

actual wrongdoing by the Nominal Distributor Defendants that could plausibly give rise to a

colorable claim against them.

       71.     Where, as here, a plaintiff includes threadbare allegations against non-diverse

defendants which fail to identify any wrongdoing by them, courts have repeatedly held that the


4
  Plaintiff refers to two Nominal Distributor Defendants (General Injectables & Vaccines, Inc. and
Insource, Inc.) under the umbrella term “Henry Schein,” which Plaintiff defines as referring to
these two Nominal Distributor Defendants plus Henry Schein, Inc. (Compl. ¶ 151.) Even
including references to “Henry Schein,” there are just ten paragraphs in the entire Complaint that
refer to a Nominal Distributor Defendant. Of those ten paragraphs, only six refer specifically to
a Nominal Distributor Defendant (as opposed to “Henry Schein”).


                                                 15
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 16 of 32 Pageid#: 196




non-diverse defendants are fraudulently joined. See, e.g., City of Brownsville v. Sw. Bell Tel. Co.,

No. CIV. A. B-90-200, 1991 WL 107403, at *3 (S.D. Tex. June 6, 1991) (finding fraudulent

joinder where “[o]nly two paragraphs of the complaint even mention” the non-diverse defendant

and there is “no allegation of wrongdoing”); Lewis v. PNC Bank, N.A., No. 2:13-CV-69-RWS,

2013 WL 6817090, at *2 (N.D. Ga. Dec. 26, 2013) (finding fraudulent joinder where “[p]laintiff

does not allege how [the non-diverse defendant] specifically committed any wrongdoing”); Jones

v. Mortg. Elec. Regis. Sys., Inc., No. 4:12-CV-00035-HLM, 2012 WL 13028595, at *5 (N.D. Ga.

Mar. 12, 2012) (finding fraudulent joinder where “[p]laintiffs do not allege any wrongdoing by”

the non-diverse defendant); Galler v. 21st Mort. Corp., No. 3:14-cv-174-MCR/EMT, 2014 WL

12701066, at *2 (N.D. Fla. Sept. 3, 2014) (finding fraudulent joinder where the complaint

“includes no allegations of fact at all regarding” the non-diverse defendant); Baker v. Select

Portfolio Servicing, Inc., No. 1:12-cv-03493-JEC, 2013 WL 4806907, at *6 (N.D. Ga. Sept. 9,

2013) (finding fraudulent joinder where “plaintiff has not provided any specific factual basis for

the claims” against the non-diverse defendants).5

       72.     Nor can Plaintiff rely on the Complaint’s undifferentiated, generalized allegations

purporting to describe conduct of certain undefined “Defendants” or “Distributor Defendants,” as

these allegations are not attributable to the Nominal Distributor Defendants.            “[G]eneric

allegations of wrongdoing on the part of the non-diverse defendant are not sufficient to show that

the defendant was not fraudulently joined.” Howard v. CitiFinancial, Inc., 195 F. Supp. 2d 811,


5
  See also Cammack New Liberty, LLC v. Vizterra, LLC, No. CIV.A. 3:09-15-DCR, 2009 WL
2043568, at *3 (E.D. Ky. July 13, 2009) (finding fraudulent joinder where the complaint did “not
allege wrongdoing on the part of” the non-diverse defendant); First Merchs. Tr. Co. v. Wal-Mart
Stores E., LP, 630 F. Supp. 2d 964, 968 (S.D. Ind. 2008) (finding fraudulent joinder where the
complaint made “no allegations of wrongdoing or of any other basis for obtaining relief from” the
non-diverse defendant); McGoey v. State Farm Ins. Co., No. CIV.A. 06-8954, 2007 WL 1166352,
at *3 (E.D. La. Apr. 17, 2007) (finding fraudulent joinder where the complaint did “not allege any
specific wrongdoing by” the non-diverse defendant).


                                                16
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 17 of 32 Pageid#: 197




818 (S.D. Miss. 2002), aff’d and remanded sub nom. Ross v. Citifinancial, Inc., 344 F.3d 458 (5th

Cir. 2003). As courts have explained, “[a]lthough [Plaintiff’s] complaint commonly employs the

generic term ‘defendants,’ the context and nature of the individual allegations make clear that only

the” diverse defendants are targeted. Salisbury v. Purdue Pharma, L.P., 166 F. Supp. 2d 546, 550

(E.D. Ky. 2001); see also In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods.

Liab. Litig., 220 F. Supp. 2d 414, 424 (E.D. Pa. 2002) (“[T]he complaints . . . are devoid of specific

allegations against the pharmacies. They are filled instead with general statements levied against

all defendants, which most properly can be read as stating claims against the drug

manufacturers.”); Shah v. Wyeth Pharm., Inc., No. CV 04-8652 DT (MANx), 2005 WL 6731641,

at *3 (C.D. Cal. Jan. 18, 2005) (“[A]llegations against ‘defendants’ collectively are insufficient to

warrant remand, especially when Plaintiffs fail to allege any ‘particular or specific activity’ on the

part of” non-diverse defendants (citation omitted)); In re Phenylpropanolamine (PPA) Prods. Liab.

Litig., No. C02-423R, 2002 WL 34418423, at *2 (W.D. Wash. Nov. 27, 2002) (“[T]he complaint

utilizes the plural ‘defendants’ in a number of allegations that one could not reasonably interpret

to include” the non-diverse defendant). For example, where the Complaint generally proclaims

that “the Distributor Defendants have knowingly or negligently allowed diversion” (Compl. ¶

320), the immediately following subparagraphs describe alleged conduct exclusively of diverse

Distributor Defendants, with no mention of the Nominal Distributor Defendants (id. ¶ 320(a)-(l)).

Plaintiff repeats that model—a generic allegation against “Defendants” or “Distributor

Defendants” substantiated by specific allegations against only diverse Defendants—throughout

the Complaint.

       73.       Because there are no allegations of wrongdoing against the Nominal Distributor

Defendants, and the bulk allegations against “Defendants” or “Distributor Defendants” are not




                                                 17
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 18 of 32 Pageid#: 198




attributable to conduct of the Nominal Distributor Defendants, there is no possibility that the

Plaintiff can establish a claim against the Nominal Distributor Defendants.           The Nominal

Distributor Defendants have been fraudulently joined, and their citizenship should be ignored for

purposes of diversity jurisdiction.

               2.      The Distributor Defendants Should Be Severed Under Rule 21

       74.     Beyond fraudulent joinder of the Nominal Distributor Defendants, the citizenship

of all Distributor Defendants (including the Nominal Distributor Defendants) should be ignored

because the claims against them are subject to severance under Federal Rule of Civil Procedure

21. Defendants are severable under Rule 21 if they are either unnecessary or dispensable under

Rule 19, or if the claims against them are sufficiently distinct from claims against other defendants

under Rule 20. Here, the Distributor Defendants should be severed on both grounds, each of

which preserves diversity jurisdiction as to the Manufacturer Defendants and PBM Defendants.6

       75.     As to severance of unnecessary and dispensable parties, it is settled law in the

Fourth Circuit that “non-diverse parties whose presence is not essential under Rule 19 may be

dropped to achieve diversity between the plaintiffs and the defendants.” Caperton v. Beatrice

Pocahontas Coal Co., 585 F.2d 683, 691 (4th Cir. 1978); see Koehler v. Dodwell, 152 F.3d 304,

308 (4th Cir. 1998) (“[A] party . . . whose presence deprives the court of jurisdiction may be

dropped or severed from the action.”). As the United States Supreme Court has held, “it is well



6
  As noted above, Plaintiff has not alleged any wrongdoing by the Nominal Distributor Defendants
and has attempted to mask this dispositive pleading deficiency by grouping them together with the
diverse Distributor Defendants. Because Plaintiff attempts to lump its allegations against the
Nominal Distributor Defendants (who are not alleged to have committed any wrongdoing) together
with its allegations against diverse Distributor Defendants (who are alleged to have committed
wrongdoing), the Rule 21 severance and fraudulent misjoinder arguments set forth herein would
apply equally to all Distributor Defendants. But because the Nominal Distributor Defendants are
the only non-diverse Defendants here, the Court need only address the presence of the Nominal
Distributor Defendants to find jurisdiction.


                                                 18
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 19 of 32 Pageid#: 199




settled that Rule 21 invests district courts with authority to allow a dispensable nondiverse party

to be dropped at any time, even after judgment has been rendered.” Newman-Green, Inc. v.

Alfonzo-Larrain, 490 U.S. 826, 832 (1989); see Grupo Dataflux v. Atlas Global Grp., L.P., 541

U.S. 567, 572-73 (2004).

       76.     Sullivan v. Calvert Memorial Hospital, 117 F. Supp. 3d 702 (D. Md. 2015), is

particularly instructive. There, a Maryland citizen filed suit in state court for injuries arising from

the implant of a medical device. Id. at 703. The plaintiff asserted claims against the out-of-state

manufacturer of the medical device, as well as non-diverse healthcare providers who performed

her surgery. Id. at 703-04. Notwithstanding a lack of complete diversity on the face of the

complaint, the manufacturer removed the case to federal court, arguing the court should preserve

diversity jurisdiction by severing the non-diverse healthcare providers as unnecessary and

dispensable parties under Rule 19. Id. at 704. The court agreed. Id. at 707.

       77.     Even though the claims against the manufacturer and the healthcare providers

“involve[d] the same physical object,” the court held that severance was appropriate because the

claims against the two sets of defendants involved “distinctly different” “legal standards and

factual inquiries.” Id. at 706. As the court explained, “[t]he [healthcare providers] are not

necessary parties to [plaintiff’s] claims against the [diverse manufacturer] because the resolution

of her claims against the [healthcare providers] would not necessarily resolve her claims against

the [manufacturer].” Id. at 707. “[Plaintiff’s] medical negligence claims against the [healthcare

providers] hinge on whether they deviated from the standard of care of healthcare professionals

. . . . Her products liability claims against the [manufacturer] turn on whether [it] . . . improperly

designed, manufactured, tested, advertised, and gave directions regarding use of the [medical




                                                  19
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 20 of 32 Pageid#: 200




device]. These standards of care and the deviation from same are different and distinct from one

another.” Id.

       78.      The court further explained that there was “a critical policy reason” to sever the

non-diverse defendants—namely, it would allow the claims against the diverse manufacturer to be

transferred to an MDL. Id. “Whatever inconvenience [plaintiff] might suffer from her having to

litigate her claims in two separate forums, that inconvenience is far exceeded by the prejudice of

requiring the manufacturer . . . to defend on many more than just two fronts.            Forcing the

[manufacturer] to litigate [these] claims in state courts throughout the country whenever and

wherever the claims might be joined to claims against healthcare providers that installed the device

would defeat the entire purpose of the MDL.” Id. (internal quotation marks and citation omitted).

Accordingly, the court severed the non-diverse defendants and denied remand as to the diverse

manufacturer. Id.

       79.      Numerous decisions of district courts in this Circuit and other circuits are in accord

with Sullivan. E.g., Cooke-Bates v. Bayer Corp., No. 3:10-cv-261, 2010 WL 3984830, at *4 (E.D.

Va. Oct. 8, 2010); Joseph v. Baxter Int’l, Inc., 614 F. Supp. 2d 868, 872-74 (N.D. Ohio 2009);

Mayfield v. London Women’s Care, PLLC, No. 15-19-DLB, 2015 WL 3440492, at *5 (E.D. Ky.

May 28, 2015); DeGidio v. Centocor, Inc., No. 3:09CV721, 2009 WL 1867676, at *3-4 (N.D.

Ohio July 8, 2009); McElroy v. Hamilton Cty. Bd. of Educ., No. 1:12-cv-297, 2012 WL 12871469,

at *2-3 (E.D. Tenn. Dec. 20, 2012).

       80.      Likewise, here, this Court should sever the Distributor Defendants under Rule 21

and deny remand as to the Manufacturer Defendants and PBM Defendants because the Distributor

Defendants are both unnecessary and dispensable under Rule 19.




                                                 20
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 21 of 32 Pageid#: 201




       81.     As a threshold matter, alleged joint tortfeasors like the Distributor Defendants are

unnecessary parties as a matter of settled law. See Temple v. Synthes Corp., 498 U.S. 5, 7-8 (1990)

(holding that joint tortfeasors are not necessary parties under Rule 19); Linnin v. Michielsens, 372

F. Supp. 2d 811, 826 (E.D. Va. 2005) (“[A] non-diverse defendant who is a jointly and severally

liable tort-feasor is not an indispensable party to a diversity action under Rule 19 and may be

dismissed by the court in order for it to retain jurisdiction.”) (internal quotation marks and citation

omitted).

       82.     Moreover, just like Sullivan (and many other cases) in which the plaintiff’s claims

against the diverse defendants and non-diverse defendants were materially distinct, here Plaintiff’s

allegations against the Manufacturer Defendants and PBM Defendants are materially distinct from

those against the Distributor Defendants.         Specifically, Plaintiff’s allegations against the

Manufacturer Defendants center on their alleged misrepresentations concerning the risks and

benefits of FDA-approved prescription opioid medications made in marketing and promoting the

medications, and Plaintiff’s allegations against the PBM Defendants concern their alleged design

of benefit plans determining which medications will be covered by pharmacy benefit plans. By

contrast, Plaintiff’s allegations against the Distributor Defendants have nothing to do with

promotion of opioid medications or the design of benefit plans. Instead, Plaintiff alleges that the

Distributor Defendants failed to detect, halt, and report suspicious orders of opioid medications.

There is no material overlap between the factual allegations against the Manufacturer Defendants

and PBM Defendants, on the one hand, and the Distributor Defendants, on the other, that would

make the Distributor Defendants necessary or indispensable parties under Rule 19. Rather, just

like Sullivan, “the resolution of [Plaintiff’s] claims against the [Distributor Defendants] would not




                                                  21
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 22 of 32 Pageid#: 202




necessarily resolve [Plaintiff’s] claims against the [Manufacturer Defendants or PBM

Defendants].” 117 F. Supp. 3d at 707.

        83.     Beyond Rule 19, the claims against the Distributor Defendants are also misjoined

under Rule 20, which provides a distinct basis for severance. Rule 21 permits severance of claims

against non-diverse defendants that do not “aris[e] out of the same transaction, occurrence, or

series of transactions or occurrences” as the claims against other defendants. Fed. R. Civ. P.

20(a)(1)(A); see Loeffelbein v. Milberg Weiss Bershad Hynes & Lerach, LLP, No. Civ.A. 02-2435-

CM, 2003 WL 21313957, at *5 (D. Kan. May 23, 2003) (“Rule 21 is a mechanism for correcting

. . . the misjoinder . . . of parties or claims” which “arises when the claims and parties fail to satisfy

any of the conditions of permissive joinder under Rule 20(a).”) (citation omitted). Courts have

repeatedly denied remand as to diverse defendants and severed claims against non-diverse

defendants where the claims against the non-diverse defendants were separate and distinct, and

arose from different transactions or occurrences.7 Because of the distinct factual underpinnings

of the claims against the different sets of defendants here, these claims cannot properly be joined

together.

        84.     Severance is particularly appropriate here because it will enable the diverse parties

to benefit from the significant efficiencies stemming from participation in coordinated MDL

proceedings in the Northern District of Ohio.           Courts across the country have repeatedly

recognized the importance of these efficiencies in severing non-diverse defendants to perfect



7
  See Todd v. Cary’s Lake Homeowners Ass’n, 315 F.R.D. 453, 458 (D.S.C. 2016); Westley v.
Progressive Specialty Ins. Co., No. 14-1410, 2014 WL 4489620, at *6-7 (E.D. La. Sept. 10, 2014);
Loeffelbein, 2003 WL 21313957, at *6; Sutton v. Davol, Inc., 251 F.R.D. 500, 502-05 (E.D. Cal.
2008); Greene v. Wyeth, 344 F. Supp. 2d 674, 683-84 (D. Nev. 2004); Anderson v. State Farm
Mut. Auto. Ins. Co., No. 4:08CV345-RH/WCS, 2008 WL 11366408, at *3 (N.D. Fla. Nov. 10,
2008); DirecTV, Inc. v. Beecher, 296 F. Supp. 2d 937, 945 (S.D. Ind. 2003); Randleel v. Pizza Hut
of Am., Inc., 182 F.R.D. 542, 543 (N.D. Ill. 1998).


                                                   22
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 23 of 32 Pageid#: 203




diversity jurisdiction.   E.g., Sullivan, 117 F. Supp. 3d at 707 (“Severance is particularly

appropriate in this case because it would allow for the transfer of [plaintiff’s] claims against the

[diverse manufacturer] to Multi-District Litigation.”); Sutton, 251 F.R.D. at 505 (“Plaintiffs’

claims against the [non-diverse] Defendants are severed and remanded pursuant to Rule 21 . . . so

as to preserve the removing Defendants’ right to removal in the remaining multidistrict action and

preserve the interests of judicial expediency and justice so that all pre-trial discovery on the

products liability case can be coordinated in a single forum.”); Baxter, 614 F. Supp. 2d at 873

(“[P]laintiffs will benefit from the MDL process: they will not bear the burden of having to

engage on their own, and at their sole expense, in discovery vis-à-vis [the diverse manufacturer].”);

Mayfield, 2015 WL 3440492, at *5 (“[I]f the surviving federal claims are transferred to the Ethicon

MDL, the prospect of dual litigation has undeniable upside.”).

       85.     As the Eastern District of Virginia has explained in materially identical

circumstances, “[t]he Court’s decision to sever . . . [the non-diverse healthcare provider] will not

greatly prejudice [plaintiff], but failure to do so could subject [the diverse manufacturer defendant]

to considerable prejudice. [Plaintiff] will be forced to pursue two separate suits, but it will not

alone bear the administrative and financial burdens of pursuing its claims against [the

manufacturer] in the MDL proceedings. For its part, [the manufacturer] could be exposed to

numerous related suits if courts considering suits similar to this one refused to sever claims against

[the manufacturer] from those against the providers that prescribed [the drug].” Cooke-Bates,

2010 WL 3984830, at *4 (internal citations omitted).

       86.     That Plaintiff asserts some causes of action against “all Defendants” changes

nothing. Severance is appropriate because the factual basis for Plaintiff’s claims against the

Manufacturer Defendants and PBM Defendants is materially distinct from the factual basis for




                                                 23
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 24 of 32 Pageid#: 204




Plaintiff’s claims against the Distributor Defendants. See Loeffelbein, 2003 WL 21313957, at *6

(“While plaintiffs do not distinguish between each of the defendants in the individual counts of

the petition, the counts clearly arise from two different sets of facts.”); Nelson v. Aim Advisors,

Inc., No. 01-CV-0282-MJR, 2002 WL 442189, at *3 (S.D. Ill. Mar. 8, 2002) (“Although Plaintiffs’

claims against all Defendants are pled under the same legal theory, it is only in this abstract sense

that Plaintiffs’ claims share anything in common . . . [and] does not mean that there are common

issues of law and fact sufficient to satisfy Rule 20(a).”). If Plaintiff wants to pursue claims against

the Distributor Defendants, Plaintiff has an “adequate remedy . . . in state court.” Baxter, 614 F.

Supp. 2d at 873.

               3.      The Distributor Defendants Are Also Fraudulently Misjoined

       87.     As an alternative to severance under Rule 21, the citizenship of the Distributor

Defendants (including the Nominal Distributor Defendants) should be ignored for purposes of

diversity jurisdiction under the fraudulent misjoinder doctrine. Fraudulent misjoinder, also called

procedural misjoinder, is different from the fraudulent joinder doctrine discussed above. As

district courts within this Circuit have explained, fraudulent misjoinder “is an assertion that claims

against certain defendants . . . have no real connection to the claims against other defendants in the

same action and were only included in order to defeat diversity jurisdiction and removal.” Cty.

Comm’n of McDowell Cty. v. McKesson Corp., 263 F. Supp. 3d 639, 644 (S.D. W. Va. 2017)

(internal quotation marks omitted); see also Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353,

1360 (11th Cir. 1996), abrogated on another ground by Cohen v. Office Depot, Inc., 204 F.3d

1069 (11th Cir. 2000)).




                                                  24
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 25 of 32 Pageid#: 205




        88.    While the Fourth Circuit has neither accepted nor rejected the fraudulent misjoinder

doctrine, the “weight of authority” from district courts in this Circuit “accepts the doctrine.”

McKesson Corp., 263 F. Supp. 3d at 645.

        89.    In opioid-related cases like this one, federal district courts in this Circuit have relied

on the fraudulent misjoinder doctrine to ignore the citizenship of non-diverse defendants and deny

remand based on diversity jurisdiction. See McKesson Corp., 263 F. Supp. 3d at 647; City of

Huntington v. AmerisourceBergen Drug Corp., Civ. A. No. 3:17-01362, 2017 WL 3317300, at *4-

5 (S.D. W. Va. Aug. 3, 2017). But see Brooke Cty. Comm’n et al. v. Purdue Pharma L.P. et al.,

No. 5:18-cv-00009 (N.D. W. Va.), Doc. 23 (Feb. 23, 2018 Order). In McKesson Corp., the

plaintiff filed suit in state court against diverse distributors of opioid products for allegedly

“flood[ing] McDowell County with opioids well beyond what was necessary to address pain and

other [legitimate] reasons,” and also against a non-diverse doctor for allegedly “provid[ing] written

opioid prescriptions for patients, knowing that the drugs were likely to be abused, diverted or

misused.” 263 F. Supp. 3d at 642. Denying plaintiff’s remand motion, the court held that

“plaintiff’s claims against the [distributors] and the claims against [the doctor]” lacked “common

questions of law or fact” and were “separate and distinct” and did not defeat diversity. Id. at 647.

In City of Huntington, the court reached the same conclusion for substantially the same reasons.

2017 WL 3317300, at *5 (claims against diverse and non-diverse defendants were “separate and

distinct”).

        90.    Even if the Court finds that the Distributor Defendants are not subject to severance

under Rule 21, it should find the claims against them misjoined under the fraudulent misjoinder

doctrine.




                                                  25
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 26 of 32 Pageid#: 206




       91.      In sum, because Plaintiff is a Virginia citizen, and because none of the properly

joined Defendants is a Virginia citizen, there is complete diversity of citizenship. See 28 U.S.C.

§ 1332(a).

II.    THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

       92.      “[A] defendant’s notice of removal need only include a plausible allegation that the

amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating

Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014).

       93.      Plaintiff seeks “compensatory damages in an amount not less than $25,000,000”

plus punitive damages of “$350,000 per defendant.” (Compl. Prayer for Relief ¶¶ (1)-(2).) It is

thus clear the alleged amount in controversy exceeds $75,000, exclusive of interest and costs.

III.   ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED

       A.       This Notice of Removal Is Timely

       94.      This Notice of Removal is timely filed. As noted supra, Purdue has not been

served, and thus its deadline to remove this action has not yet been triggered. See 28 U.S.C.

§ 1446(b)(1).

       B.       Defendants Have Not Been Served and Need Not Consent to Removal

       95.      No Defendant in this action has been served, and therefore consent to removal is

not required from any Defendant. No certificate of service has been filed in the underlying case

showing that any Defendant has been served.

       96.      By filing this Notice of Removal, Purdue does not waive any defense that may be

available to it and reserves all such defenses. If any question arises as to the propriety of the

removal to this Court, Purdue requests the opportunity to present a brief and oral argument in

support of its position that this case has been properly removed.




                                                 26
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 27 of 32 Pageid#: 207




                                    CONCLUSION

       WHEREFORE, Purdue hereby removes this action from the Circuit Court for Charlotte

County, Virginia, to this Court.




June 21, 2019                           Respectfully submitted,

                                        /s/ Wade W. Massie
                                        Wade W. Massie (Va. Bar No. 16616)
                                        PENN, STUART & ESKRIDGE
                                        208 East Main Street
                                        Abingdon, Virginia 24210
                                        Tel: (276) 628-5151
                                        Fax: (276) 628-5621
                                        wmassie@pennstuart.com

                                        Judy L. Leone (pro hac vice forthcoming)
                                        Will W. Sachse (pro hac vice forthcoming)
                                        DECHERT LLP
                                        2929 Arch Street
                                        Philadelphia, PA 19104
                                        Tel: (215) 994-2979
                                        Fax: (215) 994-2222
                                        judy.leone@dechert.com
                                        will.sachse@dechert.com

                                        Attorneys for Purdue Pharma L.P.; Purdue
                                        Pharma, Inc.; and The Purdue Frederick
                                        Company, Inc.




                                          27
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 28 of 32 Pageid#: 208




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of June, 2019, I electronically filed the foregoing,

along with the Civil Cover Sheet, with the Clerk of the Court using the CM/ECF system and I

hereby certify that I have mailed by United States Postal Service the document to the following

non-CM/ECF participants:

                   Plaintiff                                      Attorneys
 Charlotte County, Virginia                      Grant Morris
                                                 Kevin Sharp
                                                 Ross Brooks
                                                 Saba Bireda
                                                 Andrew Miller
                                                 SANFORD HEISLER SHARP, LLP
                                                 611 Commerce Street, Suite 3100
                                                 Nashville, Tennessee 37203
                                                 Tel: (615) 434-7000
                                                 gmorris@sanfordheisler.com
                                                 ksharp@sandfordheisler.com
                                                 rbrooks@sanfordheisler.com
                                                 sbireda@sanfordheisler.com
                                                 amiller@sanfordheisler.com

                                                 Joanne Cicala
                                                 THE CICALA LAW FIRM PLLC
                                                 101 College Street
                                                 Dripping Springs, Texas 78620
                                                 Tel: (512) 275-6550
                                                 joanne@cicalapllc.com

                                                 W. Edgar Spivey
                                                 Patrick H. O’Donnell
                                                 R. Johan Conrod, Jr.
                                                 Lauren Tallent Rogers
                                                 KAUFMAN CANOLES, PC
                                                 150 W. Main Street, Suite 2100
                                                 Norfolk, VA 23510-1665
                                                 Tel: (757) 624-3196
                                                 wespivey@kaufcan.com
                                                 phodonnell@kaufcan.com
                                                 rjconrod@kaufcan.com
                                                 ltrogers@kaufcan.com




                                               28
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 29 of 32 Pageid#: 209




               Defendants                                         Address
Mallinckrodt LLC; Mallinckrodt PLC              CT Corporation System
                                                4701 Cox Road, Suite 285
                                                Glen Allen, Virginia 23060
                                                Defendants

SpecGX LLC                                      The Corporation Trust Company
                                                Corporation Trust Center
                                                1209 Orange Street
                                                Wilmington, Delaware 19801

Rhodes Pharmaceuticals, L.P.                    Rhodes Pharmaceuticals, L.P.
                                                Corporation Service Company
                                                251 Little Falls Drive
                                                Wilmington, Delaware 19808

Abbott Laboratories, Abbott Laboratories,       The Corporation Service Company
Inc., and Abbvie Inc.                           4701 Cox Road, Suite 285
                                                Glen Allen, Virginia 23060

ENDO Health Solutions, Inc and ENDO             The Corporation Trust Company
Pharmaceuticals, Inc.; PAR Pharmaceutical       Corporation Trust Center
Companies, Inc. and PAR Pharmaceutical,         1209 Orange Street
Inc.                                            Wilmington, Delaware 19801

Teva Pharmaceuticals U.S.A., Inc.; Cephalon,    Corporate Creations Network Inc.
Inc.;                                           3411 Silverside Road Tatnall Building, Suite
                                                104
                                                Wilmington, Delaware 19810
Watson Laboratories, Inc.; Allergan PLC         Corporate Creations Network Inc.
                                                8275 South Eastern Avenue, #200
                                                Las Vegas, Nevada 89123




                                               29
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 30 of 32 Pageid#: 210




Actavis Pharma, Inc.; Allergan PLC             Actavis Pharma, Inc.; Allergan PLC
                                               Corporate Creations Network Inc.
                                               6802 Paragon Place #410
                                               Richmond, Virginia 23230

Barr Laboratories, Inc.                        Barr Laboratories, Inc.
                                               Corporate Creations Network Inc.
                                               6802 Paragon Place Suite 410
                                               Richmond, Virginia 23230

Janssen Pharmaceuticals, Inc., Janssen         1125 Trenton-Harbourton Road
Pharmaceutica, Inc. n/k/a Janssen              Titusville, New Jersey 08560
Pharmaceuticals, Inc., and Ortho-McNeil-
Janssen Pharmaceuticals, Inc. n/k/a Janssen
Pharmaceuticals, Inc.
Insys Therapeutics, Inc.                       J The Corporation Trust Company
                                               Corporation Trust Center
                                               1209 Orange Street
                                               Wilmington, Delaware 19801

KVK-Tech, Inc.                                 KVK-Tech, Inc.
                                               c/o Frank Ripp, Jr.
                                               110 Terry Drive
                                               Newton, Pennsylvania 18940

Amneal Pharmaceuticals LLC                     Amneal Pharmaceuticals LLC
                                               The Corporation Trust Company
                                               Corporation Trust Center
                                               1209 Orange Street
                                               Wilmington, Delaware 19801

Impax Laboratories, LLC                        Impax Laboratories, LLC
                                               Corporation Service Company
                                               251 Little Falls Drive
                                               Wilmington, Delaware 19808
Amneal Pharmaceuticals, Inc.                   Amneal Pharmaceuticals, Inc.
                                               Corporation Service Company
                                               251 Little Falls Drive
                                               Wilmington, Delaware 19808




                                              30
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 31 of 32 Pageid#: 211




Amneal Pharmaceuticals of New York, LLC     Amneal Pharmaceuticals of New York, LLC
                                            The Corporation Trust Company
                                            Corporation Trust Center
                                            1209 Orange Street
                                            Wilmington, Delaware 19801

Mylan Pharmaceuticals, Inc.                 CT Corporation System
                                            4701 Cox Road, Ste. 285
                                            Glen Allen, Virginia 23060
McKesson Corporation                        McKesson Corporation; McKesson Medical-
                                            Surgical, Inc.
                                            Corporation Service Company
                                            100 Shockoe Slip, 2nd Floor
                                            Richmond, Virginia 23219
Cardinal Health, Inc.                       CT Corporation System,
                                            4400 Easton Commons Way Suite 125
                                            Columbus, Ohio 43219
AmerisourceBergen Drug Corporation          AmerisourceBergen Drug Corporation
                                            CT Corporation System
                                            4701 Cox Road, Suite 285
                                            Glen Allen, Virginia 23060
Henry Schein, Inc.                          Henry Schein, Inc.
                                            Corporation Service Company
                                            100 Shockoe Slip, 2nd Floor
                                            Richmond, Virginia 23219

General Injectables & Vaccines, Inc.        General Injectables & Vaccines, Inc.
                                            Corporation Service Company
                                            100 Shockoe Slip, 2nd Floor
                                            Richmond, Virginia 23219
Insource, Inc.                              Insource, Inc.
                                            Corporation Service Company
                                            100 Shockoe Slip, 2nd Floor
                                            Richmond, Virginia 23219

CVS Health Corporation;                     The Corporation Trust Company
Caremark RX, L.L.C.; CaremarkPCS Health,    Corporation Trust Center
L.L.C.; Caremark, L.L.C.                    1209 Orange Street
                                            Wilmington, Delaware 19801

CVS Pharmacy, Inc.;                         CT Corporation System
Caremark RX, L.L.C.; CaremarkPCS Health,    4701 Cox Road
L.L.C.; Caremark, L.L.C.                    Suite 285
                                            Glen Allen, Virginia 23060




                                           31
Case 4:19-cv-00029-EKD Document 1 Filed 06/21/19 Page 32 of 32 Pageid#: 212




CVS TN Distribution, L.L.C.                     CT Corporation System
                                                300 Montvue Road
                                                Knoxville, Tennessee 37919
Walgreens Boots Alliance, Inc                   Walgreens Boots Alliance, Inc.
                                                Corporation Service Company
                                                251 Little Falls Drive
                                                Wilmington, Delaware 19808
Walgreen Co.                                    Walgreen Co.
                                                Corporation Service Company
                                                100 Shockoe Slip, 2nd Floor
                                                Richmond, Virginia 23219
Express Scripts, Inc. and Express Scripts       Corporation Service Company
Holding Company                                 251 Little Falls Drive
                                                Wilmington, Delaware 19808

UnitedHealth Group Incorporated, Optum,         CT Corporation System
Inc., and OptumRx, Inc                          4701 Cox Road, Suite 285
                                                Glen Allen, Virginia 23060


                                            /s/ Wade W. Massie
                                            Wade W. Massie (Va. Bar No. 16616)
                                            PENN, STUART & ESKRIDGE
                                            P.O. Box 2288
                                            Abingdon, Virginia 24212
                                            Tel: (276) 628-5151
                                            Fax: (276) 628-5621
                                            wmassie@pennstuart.com

                                            Attorneys for Purdue Pharma L.P.; Purdue
                                            Pharma, Inc.; and The Purdue Frederick
                                            Company, Inc.




                                              32
